Case 2:13-cr-00001   Document 64   Filed 02/07/14   Page 1 of 6 PageID #: 167
Case 2:13-cr-00001   Document 64   Filed 02/07/14   Page 2 of 6 PageID #: 168
Case 2:13-cr-00001   Document 64   Filed 02/07/14   Page 3 of 6 PageID #: 169
Case 2:13-cr-00001   Document 64   Filed 02/07/14   Page 4 of 6 PageID #: 170
Case 2:13-cr-00001   Document 64   Filed 02/07/14   Page 5 of 6 PageID #: 171
Case 2:13-cr-00001   Document 64   Filed 02/07/14   Page 6 of 6 PageID #: 172
